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UNITED STATES DISTRICT COURT
for
WESTERN DISTRICT OF TENNESSEE

 

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U.S.A. vs. Juanita A. Tavlor Docket No.

     

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Petition on Probation and Supervised Release

COMES NOW Edward E. Shaw PROBATION OFFICER OF THE COURT presenting an official
report upon the conduct and attitude of Juanita A. Taylor who was placed on supervision by the Honorable
Samuel H. Mays, Jr., sitting in the Court at Memphis, TN on themday of April, 2004, who fixed the period
of supervision at three 131 years* , and imposed the general terms and conditions theretofore adopted by
the Court and also imposed Special Conditions and terms as follows:

l. The defendant shall participate in the Home Detention program for five (5) months. (Completed)

2. The defendant shall be prohibited from incurring new credit charges, opening additional lines of credit,
or making an obligation for any major purchases Without approval of the Probation Ofticer.

3. The defendant shall proved the Probation Officer With any requested financial information

4. The defendant shall make regular restitution payments towards the restitution obligation ($55,462.59

ordered); such payments shall not be less than ten percent (10%) of defendant’s gross monthly income
(Balance: $52,307.19)

* Supervised Release began on July 28, 2004.
RESPECTFULLY PRESENT]NG PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Juanita A. Taylor fits the criteria for early termination recommended by the Judicial Conference Cornmittee on
Criminal Law. Ms. Taylor has made progressive strides toward achieving supervision objectives and appears to
pose no risk to public safety. The defendant has paid restitution at the set rate. Carroll Andre, Assistant U. S.
Attomey, has indicated that the government does not take any position regarding early termination of supervision
The defendant has signed a payment agreement for the U.S. Attorney’s Oftice.

PRAYING THAT THE COURT WILL ()RDER that the defendant be discharged immediately from Supervised
Release, with the understanding that the United States Attorney’s Office Will be responsible for the continued
collection of restitution.

 

ORDER OF COURT Respectfully, /%
considered end rdered this 13°1 day er Edwerd E. shaw
A"-* 1 “*"r , 2005 and ordered United States Probation Offlcer

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Date: /%4¢/“% 23 205$`

 

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:03-CR-20263 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

